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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


Sally Quinn                                            Case No.

         Plaintiff,

v.                                                        COMPLAINT FOR DAMAGES
                                                       UNDER THE FAIR DEBT COLLECTION
Northstar Location Services, LLC                          PRACTICES ACT AND OTHER
                                                              EQUITABLE RELIEF
         Defendant.

                                                        JURY DEMAND ENDORSED HEREIN



                                                 PARTIES

1. Plaintiff, Sally Quinn, (“Sally”), is a natural person who resided in South Chicago Heights,

     Illinois, at all times relevant to this action.

2. Defendant, Northstar Location Services, LLC, (“NLS”), is a New York Limited Liability

     Company that maintained its principal place of business in Cheektowaga, New York, at all

     times relevant to this action.

                                    JURISDICTION AND VENUE

3.   Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

     arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.

4.   Pursuant to 28 U.S.C. §1391(b), venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                         STATEMENT OF FACTS

5. At all times relevant to this action, NLS collected consumer debts.




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6. NLS regularly uses instrumentalities of interstate commerce and the mails to collect

   consumer debts owed or due or asserted to be owed or due another.

7. The principal source of NLS’s revenue is debt collection.

8. NLS is a "debt collector” as defined by 15 U.S.C. §1692a(6).

9. As described, infra, NLS contacted Sally to collect a debt that was incurred primarily for

   personal, family, or household purposes.

10. This alleged obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

11. Sally is a “consumer” as defined by 15 U.S.C. §1692a(3).

12. Sometime within the past year, but within the statute of limitations, NLS contacted Sally on

   her personal home telephone in connection with the collection of the debt.

13. NLS contacted Sally excessively. In fact, on more than one occasion, NLS contacted Sally

   more than once a day.

14. During one communication, Sally requested NLS cease further calls to Sally.

15. Despite this request, NLS continued to contact Sally on her personal home telephone in

   connection with the collection of the debt, most recently in November 2013.

16. NLS caused Sally severe emotional distress.

17. NLS attempted to collect a debt from Sally.

18. Defendant violated the FDCPA.

                                           COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

19. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

20. Defendant violated 15 U.S.C. §1692c(a)(1) by calling Plaintiff at a time or place known to be

   inconvenient for Plaintiff.




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                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

21. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

22. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

    which is to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.

                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

23. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

24. Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable means to collect the

    debt.

                                          JURY DEMAND

25. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

26. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.




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                                      RESPECTFULLY SUBMITTED,

                                      Hyslip & Taylor, LLC, LPA


                                      By:    /s/ Jeffrey S. Hyslip
                                      One of Plaintiff’s Attorneys

Date: February 11, 2014

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